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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                 )
UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )
                                                 )
              v.                                 )        Case No. 03-20051
                                                 )                 08-2295
CARLOS PORTILLO-QUEZADA,                         )
                                                 )
                     Defendant.                  )
                                                 )



                         MEMORANDUM AND ORDER

       Defendant Carlos Portillo-Quezada filed a pro se motion pursuant to 28 U.S.C.

§ 2255 on June 27, 2008. That same day, attorney Theodore J. Lickteig entered his

appearance on behalf of Mr. Portillo-Quezada and attorney Kent E. Gipson filed a

motion to appear pro hac vice, which this court granted. Mr. Portillo-Quezada’s

attorneys then filed a motion for an extension of time to amend the § 2255 motion.

       Presently before the court is Mr. Portillo-Quezada’s Eight Motion for an

Extension of Time (doc. 542). According to the motion, another extension is needed

“because counsel needs additional time to contact a witness for the Government at the

trial of this case who may recant or change her testimony in material respects.

Completion of research and drafting of the memorandum in support is also needed.”

       The Government opposes this request (doc. 544), arguing that Mr. Portillo-

Quezada has failed to show good cause for the repeated requests for additional time. The
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Government also observes that the asserted ground in support of this

motion—specifically, the existence of a witness who may recant her trial testimony—is

nearly identical to the grounds identified in the sixth and seventh motions for additional

time, filed on June 26, 2009 and September 25, 2009. Thus, the Government contends,

Mr. Portillo-Quezada has known about this witness and the possibility of her recanting

for over six months, and yet has been unable to obtain the necessary information to

amend his § 2255 motion. Moreover, the Government notes, Mr. Portillo-Quezada has

not offered any details about steps taken to contact this witness or why research for the

memorandum in support is taking so long.

       In reply, Mr. Portillo-Quezada’s attorneys assert that they “want to leave no stone

unturned in their representation” of him and that “some stones take more time than

others to unturn” (doc. 545). Mr. Portillo-Quezada’s counsel contend that they “do not

intend to seek an indefinite series of extensions” and that “they will endeavor to file an

amended motion and memorandum in support by March 26, 2010, if the Court grants an

extension to that time.”

       Under Rule 6(b)(1) of the Federal Rules of Civil Procedure, the court may extend

a deadline for good cause. Fed. R. Civ. P. 6(b)(1). The court has to this point been

generous in finding good cause. But the Government’s objections are noted, and the

court is getting concerned about the length of time Mr. Portillo-Quezada’s attorneys are

taking to submit an amended § 2255 motion. This eighth motion will be granted, and

Mr. Portillo-Quezada will have until March 26, as requested, to file an amended § 2255

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motion. Further extensions of time will not be granted, however, without a hearing, at

which counsel will be expected to provide specific details explaining the continued need

for additional time.




       IT IS THEREFORE ORDERED BY THE COURT that Mr. Portillo-

Quezada’s Eighth Motion for Extension of Time (doc. 542) is granted. The defendant

shall have until March 26, 2010 to file an amended § 2255 motion, the government shall

have until April 26, 2010 to file a response to defendant’s amended motion, and the

defendant shall have until May 26, 2010 to reply thereto.



       IT IS SO ORDERED this 27th day of January, 2010.


                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




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